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 4
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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                              CASE NO. 13-CR-00353 GEB
12                                 Plaintiff,               STIPULATION TO CONTINUE
                                                            HEARING ON DEFENDANT’S
13   v.                                                     DISCOVERY MOTION;
                                                            [PROPOSED] ORDER
14   EMILIANO CORTES-GARCIA, et. al.
15                                 Defendants.
16

17                                               STIPULATION
18          Plaintiff, United States of America, by and through its counsel of record, and defendant,
19
     EMILIANO CORTES-GARCIA, by and through his counsel of record, hereby stipulate as follows:
20
            1.       Defendant Emiliano Cortes-Garcia filed a motion to compel discovery in this case.
21
     ECF No. 64.
22

23          2.       A hearing on the motion was held on March 17, 2016, before the Honorable

24 Magistrate Judge Carolyn K. Delaney. At that hearing, the parties requested that the Court continue

25 the motion hearing until April 4, 2016, because it appeared that the parties might be able to resolve
26 the discovery dispute. See ECF No. 69.

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            3.       The parties are continuing their efforts to resolve the discovery dispute and request
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     that the motion hearing currently scheduled for April 4, 2016, be continued to April 11, 2016, at 2:00
 1
     p.m.
 2

 3          4.       The parties acknowledge that time under the Speedy Trial Act, 18 U.S.C. § 3161, et

 4 seq., within which trial must commence, has already been excluded through April 22, 2016, by a

 5 separate order of the Court. ECF No. 67.

 6
            5.       Counsel for the government has authorized counsel for Emiliano Cortes-Garcia to
 7
     sign the stipulation on his behalf.
 8
     IT IS SO STIPULATED.
 9

10
     DATED:          March 30, 2016
11

12                                         /s/ Justin Lee
                                           JUSTIN LEE
13                                         Assistant United States Attorney
14

15
     DATED:          March 30, 2016
16

17                                         /s/ Scott Cameron
                                           SCOTT N. CAMERON
18                                         Counsel for EMILIANO CORTES-GARCIA
19
                                                  ORDER
20

21          IT IS SO ORDERED
22 Dated: March 31, 2016

23                                                   _____________________________________
                                                     CAROLYN K. DELANEY
24                                                   UNITED STATES MAGISTRATE JUDGE

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